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Inventory Listing of All Items Seized at Search Warrant Site

Site Name: investigation Number: Report Date:

LINDSEY SPRINGER | 750530384 Friday, September 16, 2005

Residence Starting Date and Time:

25758 South 201st West 09/16/2005 03:20 AM

Avenue Ending Date and Time:

Kellyville, OK

09/16/2005 02:40 PM .
Control #: i ' Evidence Box: 1
Location: Master Bedroom (1st) Locator Code:
Found: Chest of Drawers
Description: Seized Per Warrant Approximately $19,000.00 in U.S. Currency
Control #: 2 Evidence Box: 1
Location: Kitchen / Dining Locator Code:
‘Found: Cabinet .
Description: Seized Per Warrant Paper Bag containing various cash receipts, copies of money
orders, and copies of cashiers checks.

Control #: 3 ' Evidence Box: 1
Location: Kitchen / Dining "~~ Locator Code:
Found: Pantry
Description: Selzed Per Warrant Copies of Bills,;m Money Orders, and Cash Receipts
Control #:; . 4 Evidence Box: 1
Location: Kitchen / Dining Locator Code:
Found: 1
Description: Not Used
Control #: 5 Evidence Box: 2
Location: Kitchen / Dining Locator Code:
Found: Cabinet
Description: Seized Per Warrant Receipts and Misc. Records
Control #: 6 Evidence Box: 2
Location: Kitchen / Dining Locator Code:
Found: Counter
Description: Seized Per Warrant Misc. Expenditures Records and and Money Orders
Control #: 7 Evidence Box: 2
Location: Kitchen / Dining Locator Code:
Fourd: 1
Description: Not Used

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ATTACHMENT B

ITEMS TO BE SEIZED

Based on ‘the foregoing, respectfly submit that there is probable: cause to believe
that the following items, which constitute evidence of Violations of Title 26, United.

* States Code: Sections 7201 and 7208, will be found: at the location described ins

Attachment Air in’ individual and business names including, but not limited to

| LINDSEY SPRINGER, OSCAR STILLEY, and BONDAGE BREAKERS

- MINISTRIES. All of the items to.be seized as. referenced below are.for the year. —

beginning January 1, 2000 0 through the: execution of the warrant including the

. ‘following: .

“A. Client billing records, fee schedules, contracts for employrient, estimates for

services, filed courtdocuments; and correspondence (opened and unopened)
relating to.the above referenced items;

2. Currency and monetary instruments including cashier's checks, receipts. of
cashier's checks; money orders, traveler's checks, and other monetary

instruments;

3: Bank records including bank statements,. deposit tickets, cancelled checks, debit -
and credit memos, records of wire transfers, and records of safe deposit box:
rental and entry, financial statements, and correspondence (Open and unopened) .

a with banks. and financial institutions;
4. Financial records including tax retums, documents relating to the preparation of
his tax returns, documents related to the purchase and sale of automobiles or

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Page 1 of 5

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